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                                                                       FILED
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA                         APR 2 9 2019
                          MISSOULA DIVISION                           Cieri< U S o·
                                                                        DistrictOf IStrict Court
                                                                               . Montana
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UNITED STATES OF AMERICA,                             CR 19-11-M-DWM-2

             Plaintiff,

       vs.                                                 ORDER

TIFFANY ROSE RAMIREZ,

             Defendant.


      The defendant having pled guilty to Count 2 of the Indictment and released

pending sentencing,

      IT IS ORDERED that the defendant shall be subject to the following

condition while on release prior to sentencing:

      The defendant shall participate in substance abuse testing, to include
      not more than four (4) urinalysis tests or breathalyzer tests, and not
      more than seven (7) sweat patch applications. The defendant shall pay
      all or part of the costs of testing as directed by the United States
      Probation Office.

      DATED this      J'f ~ y of April, 2019.                     /


                                                           /
                                                      9   , District Judge
                                       United States Dis ·ct Court
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